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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
    QUYNH BAIN,                                     )
                                                    )
                Plaintiff,                          )
                                                    )
         v.                                         )       Civil Action No. 21-01751 (RDM)
                                                    )
    OFFICE OF THE ATTORNEY GENERAL,                 )
    et al.,                                         )
                                                    )
                Defendants.                         )
                                                    )

                                   JOINT STATUS REPORT

        Plaintiff Quynh Vu Bain and Defendants, by and through the undersigned counsel, file this

joint status report pursuant to the Court’s September 27, 2021 Minute Order. On September 27,

2021, the Court granted Plaintiff’s motion to file certain supporting exhibits under seal, ECF

No. 11, and ordered the parties to meet and confer by October 8, 2021, regarding what portions of

the sealed material are not privileged or covered by an existing confidentiality agreement or

protective order, and file redacted documents to the public docket.

        On October 7, 2021, the parties met and conferred to discuss the exhibits subject to the

Court’s minute order, exhibit numbers 1, 12 through 16, 18 through 20, 25, and 30. 1 Defendants

require additional time to determine what portions of the sealed material are not privileged or not

covered by an existing confidentiality agreement or protective order. Accordingly, Defendants

respectfully request that the Court permit Defendants to file another status report on or before


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         The Court’s minute order indicated that exhibit numbers 2 through 5 are filed under seal.
Although these exhibit numbers do not correspond with the exhibit numbers Plaintiff sought to file
under seal in her motion, the parties have considered all the exhibits Plaintiff sought to file under
seal to have been deemed to be under seal because the Court granted the motion in full. See Minute
Order (Sept. 27, 2021); Am. Compl., ECF No. 16, List of Exs.
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November 22, 2021. On or before that date, the parties will endeavor to reach agreement on what

portions of the sealed material are not privileged or covered by an existing confidentiality

agreement or protective order. Any portions of the sealed exhibits that the parties agree to file

with appropriate redactions will be filed with the court on the public docket by that date.

       In addition, Plaintiff filed exhibit number 14 under seal because the document is subject to

a protective order issued in Equal Employment Opportunity Commission case number 570-2016-

01466X, exhibit number 25 because the Board of Immigration Appeals decisions are protected

under 8 C.F.R. § 1208.6, and exhibit number 30 because it is subject to an Office of Professional

Responsibility confidentiality agreement. Plaintiff is not opposed to unsealing those three exhibits

(number 14, 25, and 30) if they are redacted in accordance with Fed. R. Civ. P. 5.2

       Plaintiff is opposed to unsealing exhibits number 1, 12, 13, 15, 16, 18, 19, and 20, because

they contain personnel records that are privacy-protected. Since Plaintiff does not seek their

disclosure under the FOIA but rather their modification, correction, or rescission under the Privacy

Act, Plaintiff requests that the Court maintain those eight exhibits under seal until such time as

there is a final disposition of Plaintiff’s Privacy Act claim.

       Plaintiff will separately file with the court a request for remote access to the non-public

docket via Pacer.gov, since she is unable to access the courthouse docket at this time, due to covid-

19 restrictions that require closure of the Clerk’s Office to the general public.




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Dated: October 8, 2021                          Respectfully submitted,

/s/ Quynh Vu Bain                               CHANNING D. PHILLIPS
QUYNH VU BAIN                                   D.C. Bar No. 415793
213 Third St. S.E.                              Acting United States Attorney
Washington, DC 20003
                                                BRIAN P. HUDAK
Pro Se Plaintiff                                Acting Chief, Civil Division

                                                /s/ Joseph F. Carilli, Jr.
                                                JOSEPH F. CARILLI, JR.
                                                N.H. Bar No. 15311
                                                Assistance United States Attorney
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                                                Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I certify that on October 8, 2021, I served the foregoing upon Plaintiff by sending a copy

of the foregoing to the following address via U.S. mail:

       Quynh Vu Bain
       213 Third St. S.E.
       Washington, DC 20003

                                                    /s/ Joseph F. Carilli, Jr.
                                                    JOSEPH F. CARILLI, JR.
                                                    Assistant United States Attorney

                                                    Counsel for Defendants
